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 9
                           UNITED STATES DISTRICT COURT

10
                          SOUTHERN DISTRICT OF CALIFORNIA
      DAVID VICTOR MIRANDA,                    Case No. '24CV2340 BAS MMP
11    individually and on behalf of all others
12    similarly situated,                      CLASS ACTION

13                      Plaintiff,                   CLASS AND COLLECTIVE ACTION
14                                                   COMPLAINT
            vs.                                      1. Failure to Pay All Overtime Wages Owed
15                                                       (FLSA, 29 U.S.C. § 201 et seq.)
                                                     2. Failure to Pay for All Hours Worked (FLSA,
16    CENTERRA SERVICES
                                                         29 U.S.C. § 201 et seq.)
      INTERNATIONAL, INC., and DOES 1                3. Minimum Wage Violations (Labor Code
17    through 50, inclusive,                             §§1194, 1197, and 1198)
18                                                   4. Failure to Pay All Overtime Wages (Labor
                        Defendant.                       Code §§ 510, 1194, and 1198)
19                                                   5. Meal Period Violations
                                                         (Labor Code § 226.7)
20                                                   6. Rest Period Violations
                                                         (Labor Code § 226.7)
21
                                                     7. Paid Sick Leave Violations (Labor Code §
22                                                       246 et seq.)
                                                     8. Untimely Payment of Wages (Labor Code §
23                                                       204 et seq.)
                                                     9. Wage Statement Violations (Labor Code §
24                                                       226 et seq.)
25                                                   10. Waiting Time Penalties (Labor Code § 203)
                                                     11. Failure to Reimburse Business Expenses
26                                                       (Labor Code § 2802)
                                                     12. Failure to Provide Records (Labor Code §§
27                                                       226, 432, and 1198.5)
                                                     13. Unfair Competition (Bus. & Prof. Code
28                                                       § 17200 et seq.)
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 1          Plaintiff DAVID VICTOR MIRANDA, individually and on behalf of all others
 2    similarly situated (“Plaintiff”), brings this CLASS AND COLLECTIVE ACTION
 3    COMPLAINT against Defendant CENTERRA SERVICES INTERNATIONAL, INC.
 4    (“Centerra Services” or “Defendant”), alleging as follows:
 5                                       INTRODUCTION
 6          1.      This is a class and collective action for Centerra Services’ wage and hour
 7    violations.
 8          2.      Centerra Services underpaid the California class members’ wages by
 9    failing to include all forms of remuneration, including cash in lieu of benefits payments
10    and shift differentials, into the regular rate of pay calculation for their hourly overtime,
11    sick, and premium wages.
12          3.      Centerra Services engaged in the unlawful practice of automatically
13    deducting meal periods, resulting in unpaid regular wages.
14          4.      Centerra Services also failed to maintain compliant meal and rest period
15    policies and practices, resulting in a failure to pay all wages and premiums owed to the
16    California class members at the lawful rate.
17          5.      Centerra Services failed to reimburse California class members for
18    necessary expenses incurred in furtherance of the class members’ job duties.
19          6.      Centerra Services failed to provide Plaintiff with his employee records
20    upon reasonable request Centerra Services.
21          7.      Centerra Services’ employment policies and practices and payroll
22    administration systems enabled and facilitated these violations on a company-wide
23    basis with respect to the class and collective members.
24          8.      Centerra Services committed the same overtime violations with respect to
25    a nationwide collective of employees, who Plaintiff seeks to represent under the Fair
26    Labor Standards Act.
27          9.      Moreover, once each of the states where employees worked for Centerra
28    Services are identified through discovery in this action, Plaintiff intends to amend this
                                                 -1-
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 1    complaint to include the corresponding state law claims on a class wide basis, based on
 2    the factual allegations set forth herein.
 3                                  JURISDICTION & VENUE
 4          10.    This Court has original federal question jurisdiction under 28 U.S.C.
 5    § 1331 because this case is brought under the Fair Labor Standards Act (“FLSA”),
 6    29 U.S.C. §§ 201, et seq., along with jurisdiction under 29 U.S.C. § 216(b) (FLSA
 7    actions “may be maintained against any employer … in any Federal or State court of
 8    competent jurisdiction”).
 9          11.    Venue is proper in this district under 28 U.S.C. § 1391(b) because a
10    substantial part of the events giving rise to the claims arose in this district, as Plaintiff
11    brings claims on behalf of a California class of current and former California employees
12    who worked throughout California, including at Centerra Services’ worksite in San
13    Diego County.
14                                            PARTIES
15    A.    Plaintiff David Victor Miranda
16          12.    Plaintiff Miranda is an individual over 18 years of age who worked for
17    Centerra Services in California as a non-exempt employee from about April 2024 to
18    Present.
19          13.    Plaintiff worked as an Armed Guard.
20          14.    Plaintiff worked in San Diego County as an employee of Centerra
21    Services.
22          15.    Centerra Services paid various forms of remuneration to Plaintiff during
23    his employment, including cash in lieu of benefits, shift differentials, sick pay, regular,
24    overtime, and meal/rest premiums under Labor Code § 226.7.
25          16.    Plaintiff Miranda provides written consent to join the FLSA action by
26    virtue of filing this Complaint and attaches a written consent hereto as Exhibit 1.
27

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 1    B.     Defendant Centerra Services International, Inc.
 2           17.    Throughout the respective statutory periods, Centerra Services was a legal
 3    employer of Plaintiff and the class and collective members.
 4           18.    Defendant Centerra Services International, Inc. is a Delaware corporation
 5    that maintains operations and conducts business throughout the State of California,
 6    including in this county.
 7           19.    Plaintiff is informed, believes, and alleges that during the previous four-
 8    year period, Centerra Services has employed class and collective members throughout
 9    the United States, including but not limited to California.
10           20.    Upon information and belief, Centerra Services is an employer, co-
11    employer, joint employer, and/or part of an integrated employer enterprise, as it
12    exercised control over the wages, hours, and working conditions of the employees,
13    suffered and permitted them to work, and otherwise engaged them as employees under
14    state and federal laws.
15           21.    Upon information and belief, Centerra Services acted in all respects
16    pertinent to this action as an alter-ego, agent, servant, joint employer, joint venturer, co-
17    conspirator, partner, in an integrated enterprise, or in some other capacity on behalf of
18    all other co-defendants, such that the acts and omissions of each defendant may be
19    legally attributable to all others.
20                                    CLASS ALLEGATIONS 1
21           22.    Plaintiff brings the Third through Thirteenth Causes of Action
22    individually and on behalf of all others similarly situated pursuant to Rule 23 of the
23    Federal Rules of Civil Procedure to recover unpaid wages, unpaid premiums, penalties,
24    and other damages related to Centerra Services’ violations of the California Labor
25    Code and IWC Wage Orders.
26
             1 Once the states where each employee worked is revealed through discovery,
27
      Plaintiff intends to amend this Complaint to include class claims under applicable state
28    law for the violations alleged herein.
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 1             23.   Plaintiff pursues the requested relief on behalf of the following California
 2    Class:
 3             a.    All current and former non-exempt hourly employees of Centerra
 4                   Services who worked in the State of California at any time during the four
 5                   years (plus 178-day tolling period under Emergency Rule No. 9)
 6                   preceding the filing of this action through the date of certification
 7                   (hereinafter, the “California Class Members” or “California Class” and
 8                   the “California Class Period”).
 9             24.   Plaintiff may move the Court based on more precisely defined subclasses
10    according to proof after close of evidence on those issues, including subclasses for the
11    regular rate violations, meal period violations, rest period, etc.
12             25.   Plaintiff is a member of the California Class he seeks to represent because
13    he worked in the State of California within the past four years (including within the
14    past 12 months) for Centerra Services, and because he was an employee who earned
15    wages from Defendant during that period.
16             26.   Plaintiff estimates that the California Class, including current and former
17    employees during the California Class Period, will exceed one hundred members,
18    though the precise number of individuals in California should be readily available from
19    Centerra Services’ personnel file records and other personnel and pay records they are
20    required to keep and maintain under state and federal laws.
21             27.   This action has been brought and may be maintained as a class action
22    pursuant to Rule 23 of the Federal Rules of Civil Procedure because there is a well-
23    defined common interest of many persons, and it is impractical to bring them all before
24    the Court. Plaintiff reserves the right to modify the California Class description or
25    further divide it into subclasses.
26             28.   Ascertainability: The proposed California Class and its subclasses are
27    ascertainable because they can be identified and located using Centerra Services’
28    payroll, employment, and personnel records.
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 1          29.    Numerosity: The potential members of the California Class and its
 2    subclasses as defined is so numerous that joinder of all members would be infeasible
 3    and impractical. The disposition of their claims through this class action will benefit
 4    both the parties and this Court. The number of members of the California Class and
 5    subclasses is unknown to Plaintiff but is estimated to be more than 100 individuals.
 6    The number and identity of members can be readily ascertained using Centerra
 7    Services’ records.
 8          30.    Typicality: Plaintiff’s claims are typical of California Class and its
 9    subclasses because all sustained similar damages arising out of Centerra Services’
10    common course of conduct in violation of law, particularly with respect to Centerra
11    Services failure to include all forms of remuneration in the regular rate of pay for
12    purposes of calculating and paying overtime and Labor Code § 226.7 wages.
13          31.    Adequacy: Plaintiff is an adequate representative of the California Class,
14    will fairly protect the interests of California Class, has no interests antagonistic to
15    California Class Members.       He will vigorously pursue this lawsuit.        Plaintiff’s
16    attorneys are competent, skilled, and experienced in litigating large wage and hour
17    class actions.
18          32.    Superiority: A class action is superior to other available means for the
19    fair and efficient adjudication of this controversy. Each California Class Member has
20    been damaged, and is entitled to recovery, because of Centerra Services’ unlawful
21    policies. A class action will allow litigation of claims in the most efficient and
22    economical manner for the parties and judicial system. Plaintiff is unaware of any
23    likely difficulties in managing this action that precludes a class action.
24          33.    Although Plaintiff and the California Class Members may have had
25    different job titles, worked in different cities and counties, and received different
26    hourly rates of pay, this action may be properly maintained as a class action because
27    Plaintiff and the California Class were similarly situated:
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 1          a.     Plaintiff and the California Class Members were all hourly, non-exempt
 2    employees.
 3          b.     Plaintiff and the California Class Members were subject to Centerra
 4    Services’ policies, practices, and directives with respect to overtime pay.
 5          c.     Plaintiff and the California Class Members were paid overtime wages
 6    and/or premium wages under Labor Code § 226.7.
 7          d.     Plaintiff and the California Class Members were also paid cash-in-lieu of
 8    benefits, such as the “H&W Cshinlieu” payments.
 9          e.     Regardless of their job title or location, Centerra Services did not pay
10    Plaintiff and the California Class Members at an overtime rate of at least 1.5x their
11    regular rate of pay for all overtime hours.
12          f.     Regardless of their job title or location, Centerra Services did not pay
13    Plaintiff and the California Class Members premium pay under Labor Code § 226.7
14    when required for missed meal/rest periods at the lawful regular rate of compensation.
15          g.     Plaintiff and Class Members were also deprived of reimbursement for
16    work related expenses under Labor Code § 2802;
17          h.     Regardless of their job title or location, Centerra Services did not pay
18    Plaintiff and the California Class Members sick pay under Labor Code § 246 in the
19    same manner as the lawful regular rate of pay for the workweek.
20                                GENERAL ALLEGATIONS
21          34.    Plaintiff and the class and collective members worked for Centerra
22    Services and were compensated on an hourly basis as nonexempt employees.
23          35.    Plaintiff and the class and collective members often worked off-the-clock
24    due to Centerra Services’ policy and practice of automatically deducting an unpaid 30-
25    minute meal period regardless of their ability to take one.
26          36.    For example, during Plaintiff’s employment, Centerra Services’ agents
27    altered his time records to insert meal period times (when none were taken) or forced
28    him to select “true” when asked if a compliant meal period was taken.
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 1          37.       Plaintiff and the class and collective members were deprived of regular
 2    wages each time Centerra Services altered their time records to make it appear as though
 3    they had taken a 30-minute meal period when in reality they had a shorter/interrupted
 4    meal period or no meal period at all.
 5          38.       Centerra Services failed to pay Plaintiff and the class and collective
 6    members overtime wages and the lawful rate of pay for overtime hours worked,
 7    resulting in unpaid overtime wages.
 8          39.       First, as a result of Centerra Services editing Plaintiff’s and, on information
 9    and belief, the class and collective members’ time records to include false meal periods,
10    Defendant failed to compensate Plaintiff and the class and collective members for all
11    overtime hours worked. Each time this practice resulted in unpaid work over 8 hours in
12    a day or 40 hours in a week, this resulted in unpaid overtime.
13          40.       Second, Defendant failed to pay overtime and double time at the “regular
14    rate of pay.”
15          41.       In addition to earning hourly compensation, Centerra Services paid
16    Plaintiff and the class and collective members other forms of non-discretionary
17    remuneration, including fringe benefit cash payments and shift differentials that
18    Defendant failed to include in the overtime and double time rates in the pay periods
19    where they earned both.
20          42.       An illustrative example of this violation is shown on Plaintiff’s wage
21    statement with the pay period 9/2/2024 to 9/15/2024. Here, Plaintiff earned a shift
22    differential (“Post Dif”) at a rate of $0.5000/hour and Cash Benefit (“H&W Cshinlieu”)
23    in the amount of $365.60. He also worked 8.00 hours of overtime. The overtime was
24    paid at a rate of only $15.2100/hour (less than Plaintiff’s base hourly rate of
25    $30.00/hour). Defendant failed to pay overtime as the proper rate of pay and failed to
26    include all these non-discretionary and non-excludable payments into Plaintiff’s
27    overtime rate.
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 1          43.    For each overtime hour worked during the period in which Plaintiff and
 2    the class and collective members earned the additional forms of remuneration,
 3    Defendant should have (but failed to) pay overtime “at a rate no less than one and one-
 4    half times the regular rate of pay for an employee” and “twice the regular rate of pay”
 5    for double time hours as required by the plain language of Labor Code section 510(a)
 6    and the IWC Wage Orders.
 7          44.    Defendant failed to comply with California’s paid sick leave laws with
 8    respect to the class and collective members. As stated above, due to Defendant’s failure
 9    to include all non-discretionary pay, including shift differential pay and cash in lieu
10    benefits, Defendant failed to pay Plaintiff’s and, on information and belief, the class
11    and collective’ paid sick leave at the regular rate of pay.
12          45.    An illustrative example of this violation is shown on Plaintiff’s wage
13    statement with the pay period 6/24/2024 – 7/7/2024. Here, Plaintiff earned a shift
14    differential of $24.63, H&W Cash benefits of $338.18, and worked overtime in the same
15    pay period he earned sick pay. However, Defendant only paid sick leave at Plaintiff’s
16    base hourly rate of $30.0000 per hour rather than “in the same manner as the regular
17    rate of pay for the worked week in which the employee uses paid sick leave, whether or
18    not the employee actually worked overtime in that workweek,” as the regular rate
19    should have included all these forms of additional non-excludable remuneration.
20          46.    Additionally, Plaintiff and the class and collective members worked off-
21    the-clock, overtime hours that were not accounted for when calculating an employee’s
22    accrued paid sick leave. Therefore, Plaintiff and the class and collective members were
23    not awarded the total accrued sick leave time they had earned.
24          47.    Additionally, Centerra Services failed to pay meal and rest period
25    premiums to Plaintiff and the California class members at the regular rate of
26    compensation.
27

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 1          48.    Centerra Services did not consistently pay all meal and rest premiums and,
 2    to the extent paid, Centerra Services improperly excluded all forms of additional
 3    remuneration, such as the cash benefits, from the calculation of the premium pay.
 4          49.    Instead, Centerra Services paid these premiums to Plaintiff and the
 5    California class members at their respective base hourly rates.
 6          50.    First, Plaintiff and the California Class members often experienced missed,
 7    late, short, and interrupted first and second meal periods due to the pressure to keep up
 8    with the high demands of the job and pressures from management.
 9          51.    Despite the noncompliant meal periods, Defendant had an unlawful policy
10    and practice of requiring Plaintiff and other California Class members to work through
11    their unpaid meal periods. Defendant failed to relieve Plaintiff and the California Class
12    members of their job duties in order to take a compliant meal period. Plaintiff recalls
13    being instructed to change his entry from “False” to “True” when asked if he took a
14    meal break when in reality, he did not. Plaintiff was told that management would not
15    submit his time entry if he didn’t select “True.” Due to the manipulation, work was
16    done off the clock resulting not only in premium pay violations, but unpaid overtime
17    and minimum wage for those hours, as applicable.
18          52.    Similarly, Defendant failed to provide all rest periods to which Plaintiff
19    and the California Class members were entitled and further failed to pay all owed rest
20    period premiums. For the same reasons Plaintiff and the California Class members
21    experienced non-compliant meal periods, like the pressure to keep up with the high
22    demands of the job, they also experienced non-compliant rest periods. Plaintiff and the
23    California Class members were hardly ever relieved of their job duties because
24    supervisors did not want to sit in the pods while employees were on break.
25          53.    Defendant had an unlawful policy and practice of encouraging Plaintiff
26    and other California Class members to work through their rest periods without being
27    paid rest period premiums.
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 1          54.    However, the Labor Code § 226.7 premium was not paid at the “regular
 2    rate of compensation,” including all earnings and factoring in cash fringe benefits.
 3          55.    As a result of Centerra Services’ failure to include all earnings in the
 4    premium rate, Centerra Services underpaid Plaintiff and the class members in those
 5    applicable pay periods.
 6          56.    Because of these violations, Centerra Services failed to provide accurate
 7    itemized wage statements to class members that included the accurate gross or net
 8    wages earned, as the employees earned overtime pay and premiums, which were not
 9    paid at the lawful rate in light of the regular rate violations.
10          57.    Likewise, overtime, sick, and premium wages were paid at inaccurate
11    hourly wage rates (i.e. the base rate or a multiple of the base rate for overtime instead
12    of the regular rate) which violates the wage statement requirement to include the correct
13    hourly rate in effect each pay period along with the correct number of hours. Therefore,
14    Centerra Services has provided inaccurate and non-compliant wage statements to the
15    class members.
16          58.    Furthermore, in each pay period in which Centerra Services paid cash in
17    lieu of fringe benefits, Centerra Services violated Labor Code § 226(a)(9) by failing to
18    state the hourly rate at which the cash in lieu of benefit payment earnings were paid,
19    and the corresponding number of hours at that rate.
20          59.    An illustrative example of this violation is shown on Plaintiff’s wage
21    statement for the pay period 07/08/2024 – 07/21/2024. Here, Plaintiff earned a Health
22    & Welfare Cash Payment (“H&W Cshinlieu”) in the amount of $365.60. However,
23    Defendant failed to state the applicable hourly rates in effect and the number of hours
24    worked at that rate. Instead, Centerra Services simply listed the gross amount as a lump
25    sum paid, without listing rates or hours.
26          60.    Moreover, Defendant violated Labor Code section 226(a)(2) by failing to
27    accurately list employees’ “total hours worked,” as the wage statements did not
28
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 1    accurately include the uncompensated time Plaintiff and other class members worked
 2    during their meal periods.
 3          61.    Defendant required Plaintiff and the class members to incur costs for work-
 4    related purposes without full reimbursement. In direct consequence of their job duties,
 5    Plaintiff and the class members unavoidably and necessarily incurred these losses,
 6    expenditures, costs, and as a matter of policy and practice.
 7          62.    Specifically, Defendant required Plaintiff and the class members to use
 8    their personal cell phones to receive phone calls and messages from Defendant’s agents
 9    about work-related matters. Further, Plaintiff was required to utilize his personal vehicle
10    to drive from his post to the hospital when he was subject to hospital watch. However,
11    Defendant did not reimburse Plaintiff and other class members for expenses incurred
12    from cellphone and gas usage required for the job.
13          63.    Centerra Services also failed to provide all records upon Plaintiff’s request.
14    Specifically, Plaintiff requested copies of his timecards for his time spent working for
15    Defendant. However, to date, Defendant has not provided Plaintiff with those time
16    records. Consequently, Defendant has failed to afford Plaintiff and the class members
17    the opportunity to inspect the records pertaining to their employment.
18          64.    These violations create derivative liability for failure to pay all wages owed
19    each payday or upon separation of employment.
20          65.    As a result of the forgoing violations, Centerra Services also failed to
21    timely pay all wages as they were due to Plaintiff and the class members while they
22    were employed and also failed to timely pay all wages due to Plaintiff and the class
23    members at their separation of employment.
24                                 FLSA COLLECTIVE ACTION
25          66.    Plaintiff brings the FLSA claims individually and on behalf of all others
26    similarly situated pursuant to 29 U.S.C. § 216(b) to recover unpaid overtime wages,
27    liquidated damages, and other damages related to Centerra Services’ violation of the
28    FLSA.
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 1          67.     Plaintiff pursues the requested relief on behalf of the following FLSA
 2    Collective:
 3                  a.    All current and former non-exempt hourly employees of Centerra
 4                        Services who worked in the United States of America at any time
 5                        during the three years preceding the filing of this action through the
 6                        present date (hereinafter, the “FLSA Collective” and the “FLSA
 7                        Period”).
 8          68.     Furthermore, within the FLSA Collective is a group of identifiable
 9    individuals who were paid overtime wages in the same pay period in which they were
10    also paid cash-in-lieu of benefits payments and other forms of non-excludable
11    remuneration, and such group is entitled to certification as a collective for the overtime
12    regular rate claims as well based on the failure to include those H&W cash in lieu
13    payments in the OT rate, as evident on employee wage statements.
14          69.     Plaintiff is a member of the FLSA Collective he seeks to represent because
15    he worked in the United States of America within the past three years for Centerra
16    Services and he was paid overtime wages in the same pay period in which he was paid
17    cash in lieu of benefits.
18          70.     Although Plaintiff and the FLSA Collective may have had different job
19    titles, worked in different states or at different locations, and received different hourly
20    rates of pay, this action may be properly maintained as a collective action because
21    Plaintiff and the FLSA Collective were similarly situated as follows:
22                  b.    Plaintiff and the FLSA Collective were all hourly, non-exempt
23                        employees.
24                  c.    Plaintiff and the FLSA Collective were subject to Centerra Services’
25                        policies, practices, and directives with respect to overtime pay.
26                  d.    Plaintiff and the FLSA Collective were paid overtime wages.
27                  e.    Plaintiff and the FLSA Collective were paid cash-in-lieu of benefits
28                        and differentials and other forms of non-excludable remuneration.
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 1                  f.    Regardless of their job title or location, Centerra Services did not
 2                        pay Plaintiff and the FLSA Collective at an overtime rate of at least
 3                        1.5x their regular rate of pay for all overtime hours.
 4          71.     Plaintiff estimates that the FLSA Collective, including current and former
 5    employees during the FLSA Period, will exceed one hundred members, though the
 6    precise number of individuals in the FLSA Collective should be readily available from
 7    Centerra Services’ personnel file records and other personnel and pay records they are
 8    required to keep and maintain under state and federal laws.
 9          72.     The FLSA claims may be properly brought and maintained as an opt-in
10    collective action. 29 U.S.C. 216(b). The FLSA Collective can be provided notice by
11    first class mail and/or email to the last addresses known to their employer.
12                                 FIRST CAUSE OF ACTION
13                       FAILURE TO PAY ALL OVERTIME WAGES
14                                 FLSA - 29 U.S.C. §§ 201 et seq.
15                (Plaintiff and the FLSA Collective Against Centerra Services)
16          73.     Plaintiff incorporates all outside paragraphs of this Complaint as if set forth
17    herein.
18          74.     Centerra Services has been, and continues to be, an “employer” engaged
19    in “interstate commerce” within the meaning of 29 U.S.C. § 203.
20          75.     Centerra Services has employed, and continues to employ, the FLSA
21    Collective as “employee[s]” within the meaning of the FLSA.
22          76.     Centerra Services knowingly, willfully, and intentionally, failed to
23    compensate Plaintiff and the FLSA Collective all overtime wages due under the FLSA,
24    as mandated by 29 U.S.C. § 207(a).
25          77.     Centerra Services employed Plaintiff and the FLSA Collective to work,
26    and they did work, in excess of forty (40) hours per week.
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 1           78.   Further, Centerra Services paid Plaintiff and the FLSA Collective cash
 2    benefits, cash in lieu of benefits, differentials, and other forms of remuneration that
 3    were not subject to exclusion from the regular rate of pay under the FLSA.
 4           79.   Centerra Services failed to pay Plaintiff and the FLSA Collective at one-
 5    and-one half times the regular rate of pay, inclusive of the aforementioned forms of
 6    remuneration, for hours in excess of forty (40) per week during the FLSA Period.
 7           80.   Plaintiff and the FLSA Collective have been harmed as a direct and
 8    proximate result of Centerra Services’ unlawful conduct because they have been
 9    deprived of overtime wages owed for time worked more than 40 hours per week (i.e.,
10    due to the regular rate underpayments).
11           81.   Centerra Services’ violations of the FLSA, as described in this Complaint,
12    have been willful and intentional.
13           82.   Centerra Services failed to make a good faith effort to comply with the
14    FLSA with respect to the compensation of Plaintiff and other similarly situated current
15    and former employees, despite the unambiguous language of 29 U.S.C. § 207(a)(1) and
16    the unambiguous eight allowable exclusions set forth in 29 U.S.C. § 207(e)(1) through
17    (8).
18           83.   Because Centerra Services’ violations of the FLSA have been willful, a
19    three-year statute of limitations applies, pursuant to 29 U.S.C. § 255.
20           84.   As a result of the unlawful acts of Centerra Services, Plaintiff and other
21    similarly situated current and former employees have been deprived of overtime
22    compensation in amounts to be determined at trial, and are entitled to recovery of such
23    amounts, liquidated damages, prejudgment interest, attorneys’ fees, costs, and other
24    compensation pursuant to 29 U.S.C. § 216(b).
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 1                                 SECOND CAUSE OF ACTION
 2                      FAILURE TO PAY FOR ALL HOURS WORKED
 3                                 FLSA – 29 U.S.C. §§ 201 et seq.
 4                (Plaintiff and the FLSA Collective Against Centerra Services)
 5          85.      Plaintiff incorporates all outside paragraphs of this Complaint as if set forth
 6    herein.
 7          86.      At all relevant times, Defendant has been, and continues to be, an
 8    “employer” engaged in “interstate commerce” within the meaning of FLSA, 29 U.S.C.
 9    § 203, and Defendant has employed, and continues to employ the Covered Employees
10    as “employee[s]” within the meaning of the FLSA.
11          87.      Defendant knowingly, willfully, and intentionally, failed to compensate
12    Plaintiff and the FLSA Collective all wages under the FLSA, including agreed upon
13    wages and the applicable minimum wage, as mandated by 29 U.S.C § 206(a).
14          88.      Defendant failed to pay Plaintiff and the FLSA Collective for all hours
15    worked as a result of its policies of automatically deducting meal periods.
16          89.      This practice resulted in Plaintiff and the FLSA collective being deprived
17    of their regular wages.
18                                  THIRD CAUSE OF ACTION
19                               MINIMUM WAGE VIOLATIONS
20                       Violation of Labor Code §§ 1194, 1194.2 and 1197
21                (Plaintiff and the California Classes Against Centerra Services)
22          90.      All outside paragraphs of this Complaint are incorporated into this section.
23          91.      This cause of action is brought pursuant to the IWC Wage Orders and
24    Labor Code §§ 1182.12, 1194, 1194.2, 1197, 1197.1 and 1198 and the IWC Wage
25    Orders (the “Hours and Days of Work” and “Minimum Wages” sections of the
26    applicable orders), which require non-exempt employees be timely paid at least the state
27    or local minimum wage (if higher) for each hour of work, and further provide a private
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 1    right of action for an employer’s failure to pay all minimum wages (plus liquidated
 2    damages).
 3          92.    Defendant willfully failed in their affirmative obligation to pay Plaintiff
 4    and class members at least the lawful minimum wage for each hour worked in violation
 5    of Labor Code sections 1182.12, 1194, 1194.2, 1197, 1197.1 and 1198 and the IWC
 6    Wage Orders (the “Hours and Days of Work” and “Minimum Wages” sections of the
 7    applicable orders), including payment at the lawful local and county minimum wage
 8    ordinances in effect. As a result, Defendant is liable for all associated damages,
 9    including liquidated damages for the minimum wage violations pursuant to Labor Code
10    § 1194.2.
11          93.    Defendant’s unlawful acts and omissions deprived Plaintiff and class
12    members of minimum, regular and overtime wages in amounts to be determined at trial.
13    Plaintiff and class members are entitled to recover the full amount of the unpaid wages,
14    plus liquidated damages in an amount equal to the wages unlawfully unpaid (and
15    interest thereon), in addition to interest, attorneys’ fees, and costs to the extent permitted
16    by law, including under Labor Code sections 1194 and 1194.2.
17                                FOURTH CAUSE OF ACTION
18                       FAILURE TO PAY ALL OVERTIME WAGES
19                           Violation of Labor Code §§ 510 and 1194
20          94.    All outside paragraphs of this Complaint are incorporated into this section.
21          95.    This cause of action is brought pursuant to the IWC Wage Orders and
22    Labor Code §§ 204, 510, 558, 1194, and 1198, which require non-exempt employees
23    be timely paid overtime wages all overtime hours worked, and which further provide a
24    private right of action for an employer’s failure to pay all overtime compensation for
25    overtime hours worked.
26          96.    Centerra Services failed in their affirmative obligation to pay Plaintiff and
27    class members no less than one and one-half times their respective “regular rate of pay”
28    for all hours worked in excess of eight hours in one day, 40 hours in one week, or the
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 1    first eight hours worked on the seventh day of work in any one workweek, and no less
 2    than twice their respective “regular rate of pay” for all hours over 12 hours in one day
 3    and any work in excess of eight hours on any seventh day of a workweek for such hours
 4    worked, in violation of Labor Code sections 204, 510, 558, 1194, and 1198 and the IWC
 5    Wage Orders (the “Hours and Days of Work” sections of the applicable orders).
 6          97.    Plaintiff and class members are entitled to recover the full amount of the
 7    unpaid overtime, in addition to interest, statutory and civil penalties, and attorneys’ fees,
 8    and costs to the extent permitted by law.
 9                                 FIFTH CAUSE OF ACTION
10                                 MEAL PERIOD VIOLATIONS
11                          Violation of Labor Code §§ 226.7 and 512
12          98.    All outside paragraphs of this Complaint are incorporated into this section.
13          99.    This cause of action is brought pursuant to the IWC Wage Orders and
14    Labor Code §§ 226.7, 558 and 512, which require non-exempt employees be provided
15    complaint meal periods (or meal period premiums in lieu thereof), and which further
16    provide a private right of action for an employer’s failure to lawfully provide all meal
17    periods and/or pay meal period premiums at the lawful regular rate of compensation.
18          100. Centerra Services willfully failed in their affirmative obligation to
19    consistently provide Plaintiff and class members compliant, duty-free meal periods of
20    not less than 30 minutes beginning before the fifth hour of hour for each work period
21    of more than five hours per day and a second duty-free meal period of not less than
22    30 minutes beginning before the tenth hour of hour of work in violation of Labor Code
23    sections 226.7, 512, 558, 1198 and the IWC Wage Orders (the “Meal Periods” sections
24    of the applicable orders).
25          101. Further, Centerra Services willfully failed in their affirmative obligation to
26    consistently pay Plaintiff and class members one additional hour of pay at the respective
27    regular rate of compensation for each workday that a fully compliant meal period was
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 1    not provided, in violation of Labor Code sections 226.7, 512, 558, and 1198 and the
 2    IWC Wage Orders (the “Meal Periods” sections of the applicable orders).
 3          102. Plaintiff and class members are entitled to recover the full amount of the
 4    meal period premiums owed, in addition to interest, statutory and civil penalties, and
 5    attorneys’ fees, and costs to the extent permitted by law.
 6                                SIXTH CAUSE OF ACTION
 7                               REST PERIOD VIOLATIONS
 8                         Violation of Labor Code §§ 226.7 and 516
 9          103. All outside paragraphs of this Complaint are incorporated into this section.
10          104. This cause of action is brought pursuant to the IWC Wage Orders and
11    Labor Code §§ 226.7 and 516, which require non-exempt employees be authorized to
12    take complaint rest periods (or rest period premiums in lieu thereof), and which further
13    provide a private right of action for an employer’s failure to lawfully provide all rest
14    periods and/or pay rest period premiums at the lawful regular rate of compensation.
15          105. Centerra Services willfully failed in their affirmative obligation to
16    consistently authorize and permit Plaintiff and class members to receive compliant,
17    duty-free rest periods of not less than ten (10) minutes for every four hours worked (or
18    major fraction thereof) in violation of Labor Code sections 226.7, 516, 558, and 1198
19    and the IWC Wage Orders (the “Rest Periods” sections of the applicable orders).
20          106. Further, Centerra Services willfully failed in their affirmative obligation to
21    consistently pay Plaintiff and class members one additional hour of pay at the respective
22    regular rate of compensation for each workday that a fully compliant rest period was
23    not provided, in violation of Labor Code sections 226.7, 516, 558, and 1198 and the
24    IWC Wage Orders.
25          107. Plaintiff and class members are entitled to recover the full amount of the
26    rest period premiums owed, in addition to interest, statutory and civil penalties, and
27    attorneys’ fees, and costs to the extent permitted by law.
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 1                                 SEVENTH CAUSE OF ACTION
 2                  FAILURE TO PAY ALL PAID SICK LEAVE WAGES
 3                       Violation of Labor Code §§ 200, 218, 246 et seq.
 4          108. All outside paragraphs of this Complaint are incorporated into this section.
 5          109. Centerra Services knowingly and intentionally failed in their affirmative
 6    obligation to pay sick leave wages to Plaintiff and a paid sick leave subclass in violation
 7    of Labor Code section 246 et seq. Paid sick leave earnings constitute wages for
 8    purposes of California wage and hour law. (Murphy v. Kenneth Cole Productions, Inc.
 9    (2007) 40 Cal.4th 1094, 1103 [“Courts have recognized that ‘wages’ also include those
10    benefits to which an employee is entitled as a part of his or her compensation, including
11    money, room, board, clothing, vacation pay, and sick pay”].)
12          110. Labor Code section 246(l) governs how Centerra Services were required
13    to calculate paid sick leave:
14                 [A]n employer shall calculate paid sick leave using any of the following
15                 calculations:
16                        (1) Paid sick time for nonexempt employees shall be calculated in
17                        the same manner as the regular rate of pay for the workweek in
18                        which the employee uses paid sick time, whether or not the
19                        employee actually works overtime in that workweek.
20                        (2) Paid sick time for nonexempt employees shall be calculated by
21                        dividing the employee’s total wages, not including overtime
22                        premium pay, by the employee’s total hours worked in the full pay
23                        periods of the prior 90 days of employment.
24                        (3) Paid sick time for exempt employees shall be calculated in the
25                        same manner as the employer calculates wages for other forms of
26                        paid leave time.
27          111. Centerra Services failed to pay Plaintiff and class members their paid sick
28    leave wages at one of the lawful rates set forth in the statute because Centerra Services
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 1    failed to include in their sick leave calculation the additional remuneration received by
 2    Plaintiff and class members.
 3          112. Furthermore, to the extent the paid sick leave paid constitutes Covid-
 4    related paid sick leave, Centerra Services knowingly and intentionally failed in their
 5    affirmative obligation to pay Covid-19 Supplemental Sick Leave wages to class
 6    members at the correct rate in violation of Labor Code sections 246, 248.1, 248.2, and
 7    248 et seq.
 8          113. Pursuant to Labor Code section 248.1, Centerra Services were required to
 9    provide up to 80 hours of Covid-19 Supplemental Paid Sick Leave to employees for the
10    period of April 20, 2020 to December 31, 2020. Labor Code section 248.2 required
11    Centerra Services to provide up to 80 hours of Covid-19 Supplemental Paid Sick Leave
12    for the period of January 1, 2021 through at least September 30, 2021. Labor Code
13    section 248.6 extended Covid sick leave protections and requires employers to provide
14    up to 80 hours of Covid-19 Supplemental Paid Sick Leave for the period of January 1,
15    2022 to September 30, 2022, and may be extended thereafter.
16          114. Under Labor Code section 248.1, employees must be paid for Covid-19
17    Supplemental Paid Sick Leave at the highest of the following: (1) the regular rate of pay
18    for the last pay period, (2) state minimum wage, (3) local minimum wage.
19          115. Under Labor Code section 248.2, non-exempt employees must be paid
20    supplemental paid sick leave according to the highest of the following four methods:
21                  (I)     Calculated in the same manner as the regular rate of pay for the
22                  workweek in which the covered employee uses COVID-19 supplemental
23                  paid sick leave, whether or not the employee actually works overtime in
24                  that workweek.
25                  (II)    Calculated by dividing the covered employee’s total wages, not
26                  including overtime premium pay, by the employee’s total hours worked
27                  in the full pay periods of the prior 90 days of employment.
28                  (III)    The state minimum wage.
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 1                 (IV) The local minimum wage to which the covered employee is entitled.

 2          116. Labor Code section 248.6 requires employers to pay supplemental sick
 3    leave using either method (I) or (II), as identified above.
 4          117. On information and belief, Centerra Services failed to pay Covid-19
 5    Supplemental Sick Leave in the manner described above because Centerra Services
 6    failed to include in their sick leave calculation the additional remuneration received by
 7    class members.
 8          118. As a result, Centerra Services violated the Labor Code and are liable to
 9    Plaintiff and class members for underpaid sick leave wages, in addition to interest,
10    attorneys’ fees, and costs.
11                                  EIGHTH CAUSE OF ACTION
12                           UNTIMELY PAYMENT OF WAGES
13                          Violation of Labor Code §§ 204, 210, 218
14          119. All outside paragraphs of this Complaint are incorporated into this section.
15          120. This cause of action is brought pursuant to the IWC Wage Orders and
16    Labor Code §§ 204, 204b, and 210 which require non-exempt employees be timely paid
17    all wages owed each pay period, and which further provide a private right of action for
18    an employer’s failure to comply with this obligation. Labor Code § 218 authorizes
19    individuals to sue directly for wages and penalties due under these sections, including
20    Labor Code § 210(c)’s statutory late payment penalties.
21          121. Centerra Services willfully failed in their affirmative obligation to timely
22    pay all wages, including paid sick leave and meal and rest premiums, earned by Plaintiff
23    and class members twice during each calendar month on days designated in advance by
24    the employer as regular paydays (for employees paid on a non-weekly basis) and on the
25    regularly-scheduled weekly payday for weekly employees, if any, in violation of Labor
26    Code sections 204 and 204b and the IWC Wage Orders (the “Minimum Wages”
27    sections of the applicable orders).
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 1          122. Plaintiff and class members are entitled to recover the full amount of the
 2    unpaid wages, in addition to a statutory penalty in the amount of $100 for the initial
 3    violation for each failure to pay each employee and $200 for all subsequent violations
 4    and for all willful or intentional violations for each failure to pay each employee, plus
 5    25 percent of the amount unlawfully withheld under provided in Labor Code § 210, in
 6    addition to interest, attorneys’ fees, and costs to the extent permitted by law.
 7                                NINTH CAUSE OF ACTION
 8                            WAGE STATEMENT VIOLATIONS
 9                                Violation of Labor Code § 226
10          123. All outside paragraphs of this Complaint are incorporated into this section.
11          124. This cause of action is brought by a wage statement subclass pursuant to
12    Labor Code § 226(a) which requires non-exempt employees be provided accurate
13    itemized wage statements each pay period, and which further provide a private right of
14    action for an employer’s failure to comply with this obligation.
15          125. Centerra Services knowingly and intentionally failed in their affirmative
16    obligation to provide accurate itemized wage statements to Plaintiff and class members
17    resulting in injury to Plaintiff and class members. Specifically, the wage statements
18    issued to Plaintiff and class members did not accurately state each pay period all of the
19    information required by Labor Code § 226(a)(1)-(9).
20          126. Centerra Services’ unlawful acts and omissions deprived Plaintiff and class
21    members of accurate itemized wage statements, causing confusion and concealing wage
22    and premium underpayments.
23          127. As a result, Plaintiff and class members are entitled to recover the statutory
24    penalty of $50 per employee for the initial pay period in which a violation occurred and
25    $100 per employee for each violation in a subsequent pay period, up to an aggregate
26    penalty of $4,000 per employee, in addition to interest, attorneys’ fees, and costs to the
27    extent permitted by law, including under Labor Code section 226(e).
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 1                                TENTH CAUSE OF ACTION
 2                                WAITING TIME PENALTIES
 3                           Violation of Labor Code §§ 201 et seq.
 4          128. All outside paragraphs of this Complaint are incorporated into this section.
 5          129. This cause of action is brought by a waiting time subclass pursuant to
 6    Labor Code §§ 201 through 203, which require an employer to timely pay all wages
 7    earned upon termination of employment, and which further provide a private right of
 8    action to recover statutory waiting time penalties each day an employer fails to comply
 9    with this obligation, up to a maximum of 30 days wages.
10          130. Centerra Services willfully failed and continue to fail in their affirmative
11    obligation to pay all wages earned and unpaid to Plaintiff and class members
12    immediately upon termination of employment or within 72 hours thereafter for
13    employees who did not provide at least 72 hours prior notice of his or her intention to
14    quit, and further failed to pay those sums for 30 days thereafter in violation of Labor
15    Code sections 201 through 203 and the IWC Wage Orders.
16          131. Plaintiff and class members are entitled to recover a waiting time penalty
17    for a period of up to 30 days, in addition to interest, attorneys’ fees, and costs to the
18    extent permitted by law.
19                               ELEVENTH CAUSE OF ACTION
20                   FAILURE TO REIMBURSE BUSINESS EXPENSES
21                                Violation of Labor Code § 2802
22          132. All outside paragraphs of this Complaint are incorporated into this section.
23          133. Defendant willfully failed in their affirmative obligation to reimburse
24    Plaintiff and a reimbursement subclass for all necessary expenditures, losses, expenses,
25    and costs incurred by them in direct discharge of the duties of their employment, in
26    violation of Labor Code section 2802.
27          134. Defendants’ unlawful acts and omissions deprived Plaintiff and class
28    members of lawful reimbursements for business expenses in amounts to be determined
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 1    at trial. Plaintiff and class members are entitled to recover the amount of unreimbursed
 2    expenses of Plaintiff and class members in addition to interest, attorneys’ fees, and costs
 3    to the extent permitted by law, including under Labor Code section 2802.
 4                              TWELFTH CAUSE OF ACTION
 5                            FAILURE TO PROVIDE RECORDS
 6                      Violation of Labor Code §§ 226, 432, and 1198.5
 7          135. All outside paragraphs of this Complaint are incorporated into this section.
 8          136. Plaintiff brings this cause of action exclusively in an individual capacity
 9    and on behalf of all others similarly situated.
10          137. Labor Code section 432 states that [i]f an employee. . . signs any
11    instrument relating to the obtaining or holding of employment, he shall be given a copy
12    of the instrument upon request.”
13          138. Labor Code section 226(b) grants employees the right to inspect or receive
14    “a copy of records pertaining to their employment.” Labor Code section 226(f)
15    authorizes a penalty of $750 for an employer’s failure to comply with a request for
16    records made under section 226.
17          139. Labor Code section 1198.5 requires employers to provide an employee’s
18    “personnel records” within 30 days of receipt of the request. Section 1198.5(k)
19    authorizes a penalty of $750 for an employer’s failure to provide a copy of or permit
20    inspection of personnel records.      Section 1198.5(l) allows an employee to seek
21    injunctive relief to obtain an employer’s compliance with this section and authorizes
22    the recovery of attorneys’ fees and costs.
23          140. Section 7 (Records) of the IWC Wage Orders, which may be enforced
24    through Labor Code section 1198, requires that employers maintain time records of
25    when an employee begins and ends each work period and when the employee takes
26    meal periods, among other required employment and payroll records. Section 7(C)
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 1    states that “[a]n employee’s records shall be made available for inspection by the
 2    employee upon reasonable request.”
 3          141. Plaintiff requested from Centerra Services all records due under the IWC
 4    Wage Orders (including the Records sections) and Labor Code sections 226, 432, and
 5    1198.5. Defendant failed to produce copies of Plaintiff’s timecards for his time spent
 6    working for Defendant. Defendant failed to afford Plaintiff, and on information and
 7    belief, other employees the opportunity to inspect the records pertaining to their
 8    employment.
 9          142. Defendant’s unlawful acts and omissions deprived Plaintiff of the ability
10    to review the documents they received during their employment and to inspect and
11    reconcile their actual time worked with the ultimate pay they received on their wage
12    statements. Plaintiff is entitled to recover the penalties and injunctive relief, in addition
13    to interest, attorneys’ fees, and costs to the extent permitted by law, including under
14    Code of Civil Procedure section 1021.5, and Labor Code sections 226 and 1198.5.
15                            THIRTEENTH CAUSE OF ACTION
16                                   UNFAIR COMPETITION
17                Violation of Business and Professions Code §§ 17200 et seq.
18          143. All outside paragraphs of this Complaint are incorporated into this section.
19          144. Centerra Services have engaged and continue to engage in unfair and/or
20    unlawful business practices in the State of California in violation of California Business
21    and Professions Code § 17200 by committing the foregoing wage and hour violations
22    alleged throughout this Complaint.
23          145. Centerra Services’ dependance on these unfair and/or unlawful business
24    practices deprived Plaintiff and continues to deprive other class members of
25    compensation to which they are legally entitled, constitutes unfair and/or unlawful
26    competition, and provides an unfair advantage to Centerra Services over competitors
27    who have been and/or are currently employing workers in compliance with California’s
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 1    wage and hour laws. These failures constitute unlawful, deceptive, and unfair business
 2    acts and practices in violation of Business and Professions Code section 17200 et seq.
 3          146. Plaintiff is a victim of Centerra Services’ unfair and/or unlawful conduct
 4    alleged in this Complaint, and Plaintiff, as an individual and on behalf of others
 5    similarly situated, seeks full restitution of the moneys as necessary and according to
 6    proof to restore all monies withheld, acquired, and/or converted by Centerra Services
 7    pursuant to Business and Professions Code §§ 17203 and 17208.
 8          147. Plaintiff does not have an adequate remedy at law without the UCL all
 9    restitution sought herein, including the fact that the recovery sought does not extend to
10    the four-year limitation provided under the UCL or to the extent the underlying Labor
11    Code and IWC Wage Order violations do not provide a private right of action.
12          148. Plaintiff and class members are entitled to restitution, and other equitable
13    relief to return all funds over which Plaintiff and class members have an ownership
14    interest under Business and Professions Code § 17200 et seq.
15          149. Plaintiff and class members are further entitled to recover interest,
16    attorneys’ fees, and costs to the extent permitted by law, including under Code of Civil
17    Procedure § 1021.5.
18                                            PRAYER
19          Plaintiff prays for judgment as follows:
20          a.     For certification of this action as a class action;
21          b.     For certification of this action as an FLSA collective action;
22          c.     For appointment of Plaintiff as the representative of the classes and
23                 collective;
24          d.     For appointment of above-captioned counsel for Plaintiff as Class Counsel;
25          e.     For recovery of damages in amount according to proof;
26          f.     For all recoverable pre- and post-judgment interest;
27          g.     For recovery of all civil and statutory penalties and liquidated damages;
28          h.     For disgorgement of all amounts wrongfully obtained;
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 1          i.   For restitution and injunctive relief;
 2          j.   For reasonable attorneys’ fees and costs of suit, including expert fees, to
 3               the extent permitted by law, including (without limitation) under Labor
 4               Code §§ 218.5, 226, 1194, Code of Civil Procedure § 1021.5, and 29
 5               U.S.C. § 216(b); and
 6          k.   For such other relief the Court deems just and proper.
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      Dated: December 16, 2024              Ferraro Vega Employment Lawyers, Inc.

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                                            _________________________________
                                             Nicholas J. Ferraro
11                                           Attorney for Plaintiff
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